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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

                                 )
US DOMINION, INC., et al.        )
                                 )
           Plaintiffs,           )          Case No. 1:21-cv-00445-CJN
                                 )             Judge Carl J. Nichols
      v.                         )
                                 )
MY PILLOW, INC., et al.          )
                                 )
           Defendants.           )
________________________________________________________________________

  MY PILLOW, INC.’S REPLY MEMORANDUM IN SUPPORT OF MOTION
 FOR MODIFICATION OF MEMORANDUM OPINION AND ORDER DATED
   AUGUST 11, 2021, TO INCLUDE CERTIFICATION OF CONTROLLING
                         QUESTIONS OF LAW


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       My Pillow, Inc. (“MyPillow”) asks this Court to take a modest step that would

enable the Court of Appeals to consider, as a matter of law, whether the long and expensive

proceeding that will necessarily follow this Court’s denial of MyPillow’s Motion to

Dismiss is constitutionally permissible. Indeed, the protections of the First Amendment

could be rendered meaningless if Dominion’s defamation action based on statements about

the integrity of the election process is allowed to proceed against Mike Lindell and

MyPillow based on nothing other than Dominion’s one-sided allegations. The chilling

effect of litigation under such a standard is antithetical to the fundamental right under our

Constitution to speak out on matters of public concern.

       If this Court enters a certification finding, the Court of Appeals will then be able to

decide under the procedure prescribed by 28 U.S.C. § 1292(b) – before full briefing and

argument on an appeal – whether to permit an appeal to proceed. Dominion’s 18-page

Opposition to MyPillow’s Motion may then be presented to the Court of Appeals for its

evaluation in deciding whether to accept the appeal, together with MyPillow’s response. If

the Court of Appeals agrees to hear the appeal and reverses this Court’s order – as

MyPillow contends it should – Dominion’s lawsuit against MyPillow will be over. Hence,

the overriding purpose of the statutory authorization of an interlocutory appeal will be

fulfilled. Should the Court of Appeals agree with this Court’s ruling, MyPillow’s

constitutional challenge to the proof that Dominion alleges will have been resolved.

       The course MyPillow urges was followed on more than one occasion by District

Judge Ketanji Brown Jackson before she became a member of the Court of Appeals. In

rulings issued in 2015 and 2019, Judge Jackson asked the Court of Appeals to review


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threshold decisions she had issued in favor of plaintiffs in litigation that would have been

lengthy and complicated. In both instances, the Court of Appeals agreed to an interlocutory

review of her rulings. MyPillow asks this Court to follow the precedent set by Judge

Jackson.

                                             I.

 JUDGE KETANJI BROWN JACKSON CERTIFIED FOR INTERLOCUTORY

  REVIEW THRESHOLD RULINGS APPROVING EXTENDED LITIGATION

       MyPillow’s Motion cites at pages 3-4 the certification made by Judge Jackson in

Kahl v. Bureau of National Affairs, Inc., 856 F.3d 106 (D.C. Cir. 2017). Judge Jackson’s

opinion explaining why she certified her ruling for interlocutory appeal is Kahl v. Bureau

of National Affairs, 2015 WL 13546450 (D.D.C. 2015). MyPillow cites and relies

principally on that precedent in its Motion because Kahl turned on the application of the

constitutional “actual malice” standard under New York Times v. Sullivan, 376 U.S. 254

(1964), just as this case does.

       But that was not the only Section 1292(b) certification made by then-District Judge

Jackson. In February 2019, Judge Jackson certified for interlocutory appeal an order she

had entered in September 2018 denying a motion to dismiss a complaint filed by the

Government of Guam. Government of Guam v. United States, 2019 WL 1003606 (D.D.C.

2019). The Court of Appeals agreed to hear the interlocutory appeal, as it had done in the

Kahl case. The Court reversed Judge Jackson’s decision and remanded “with instructions

to dismiss the complaint.” Government of Guam v. United States, 950 F.3d 104, 118 (D.C.

Cir. 2020).

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       Dominion acknowledges Judge Jackson’s ruling in the Kahl case only in footnote 2

of its Opposition, where it disparages its precedential impact because it “involves the

appeal of a summary judgment decision” rather than a ruling on a motion to dismiss. The

Government of Guam case – in which Judge Jackson certified the ruling she had made for

the plaintiff on a motion to dismiss – proves, however, that Judge Jackson accorded no

significance to whether the certified ruling was on a motion to dismiss or on a motion for

summary judgment.

       At page 3 of its Opposition, Dominion cites Judge Jackson’s opinion denying

certification in Azima v. RAK Investment Authority, 325 F. Supp.3d 30 (D.D.C. 2018), but

fails to note that she was considering whether to certify the denial of a motion to dismiss.

It is plain from her opinions that the precise juncture of the litigation is not a factor in

deciding whether to certify. In the Azima case she denied certification only because there

was no “substantial ground for a difference of opinion” on the forum non conveniens claim

that the defendant had asserted. Id. at 36-37.

                                             II.

         INTERLOCUTORY REVIEW IS APPROPRIATE UNDER 28 U.S.C. § 1292(b)

       Dominion paints 28 U.S.C. § 1292(b) as a statute that should never or rarely be used.

Opp. at 3-4 (ECF #72). The question before the Court, however, is not how often Section

1292(b) should be used, but whether it is appropriate in this case. Thus, in Mohawk Indus.,

Inc. v. Carpenter, cited by Dominion (Opp. at 3), the Supreme Court affirmed that “district

courts should not hesitate to certify an interlocutory appeal” in appropriate circumstances.

558 U.S. 100, 111 (2009). This case presents appropriate circumstances, as many others

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have. Nat’l Veterans Legal Servs. Program v. United States, 321 F. Supp. 3d 150 (D.D.C.

2018); Molock v. Whole Foods Mkt. Grp., Inc., 317 F. Supp. 3d 1 (D.D.C. 2018).

                A.     MyPillow Presents Controlling Questions of Law

       Dominion argues that MyPillow has not identified any “pure questions of law” for

appeal. Opp. at 4 (ECF #72). By denying MyPillow’s Motion to Dismiss, this Court

decided when, under the “actual malice” standard of New York Times v. Sullivan, a public

official may be criticized in an ongoing public debate concerning the public issue of the

accuracy of an election count. That plainly presents a question of law.

       The cases Dominion cites on this point concern completely different kinds of issues

than are presented here. Mamani v. Berzain, 825 F.3d 1304 (11th Cir. 2016), addresses

wrongful-death claims under the Torture Victims Protection Act, Alien Tort Statute, and

state law. Keystone Tobacco Co. v. U.S. Tobacco Co., 217 F.R.D. 235, 239 (D.D.C. 2003),

is an unfair competition case. S.B.L. By & Through T.B. v. Evans, 80 F.3d 307, 311 (8th

Cir. 1996), is a tort case concerning alleged sexual abuse by a teacher. Int’l Soc. for Krishna

Consciousness, Inc. v. Air Canada, 727 F.2d 253, 256 (2d Cir. 1984), concerns whether an

airport’s actions constituted state action. None of these cases addresses the question of

whether a defamation complaint’s allegation of “actual malice” is constitutionally

adequate. Mamani, in fact, characterizes a dispute between the parties concerning a

“heightened knowledge standard” as a pure question of law, but the Eleventh Circuit

declined to reach that question because it was not raised in the district court. 825 F.3d at




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1313, n.4. In this case, the contours of the heightened standard of “actual malice” is a proper

question of law for a Section 1292(b) appeal.1

       Dominion acknowledges that a question of “actual malice” has been treated on at

least two occasions in this Circuit as a proper basis for a Section 1292(b) appeal (Opp. at

5 (ECF #72)), but argues that an interlocutory appeal of a summary judgment order may

be proper while the interlocutory appeal of an order denying a motion to dismiss is not. As

MyPillow demonstrates supra, Judge Jackson saw no difference between the two.

       Moreover, a critical reason for the “actual malice” requirement – to spare critics of

official action protected by the First Amendment the expense of litigation – is undermined

by allowing an appeal on these issues to wait. See, e.g., New York Times v. Sullivan, 376

U.S. 254, 279 (1964); Tah v. Glob. Witness Publ'g, Inc., 991 F.3d 231, 240 (D.C. Cir.

2021); Arpaio v. Zucker, 414 F. Supp. 3d 84, 92 (D.D.C. 2019) (district court refused to

“pry open the gates of discovery” due to debatable issues). See also Bruno & Stillman, Inc.

v. Globe Newspaper Co., 633 F.2d 583, 589 (1st Cir. 1980) (Section 1292(b) appeal into



1
  The defamation cases Dominion cites also do not address what constitutes a “controlling
question of law” for purposes of a Section 1292(b) appeal. Tavoulareas v. Piro, 817 F.2d
762 (D.C. Cir. 1987), does not mention Section 1292(b), and the D.C. Circuit in that case
affirmed a trial court’s judgment notwithstanding the verdict in favor of a defamation
defendant because actual malice had not been proved. The Court of Appeals acknowledged
its obligation to “exercise particularly careful review” and noted, “The Supreme Court and
other courts have more often than not concluded that public figure libel plaintiffs failed to
adduce evidence of sufficient clarity to convincingly support a jury finding of actual
malice.” Id. at 789. Harte-Hanks Communications, Inc. v. Connaughton, 491 U.S. 657
(1989), does not mention Section 1292(b) because it was decided on appeal from a jury
verdict. Hutchinson v. Proxmire, 443 U.S. 111 (1979), does not mention Section 1292(b),
and the Court found “actual malice” did not need to be shown because the plaintiff was not
a public figure.
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“detailed, fact-sensitive” and “particularized determinations” in addressing whether there

was actual malice in a defamation lawsuit brought by a public figure).

       Dominion’s argument that no “controlling” question is presented for appeal (Opp.

at 7-8 (ECF #72)) is particularly surprising. A “procedural determination that may

significantly impact the action” is a controlling question. Molock, 317 F. Supp.3d at 4. The

“actual malice” questions at issue here go to the heart of Dominion’s claims. If the

complaint fails to plead actual malice – an element of the claim – then it must be dismissed.

If a ruling for MyPillow on either of the questions presented in MyPillow’s Motion requires

dismissal because Dominion failed to plead actual malice, this Court was wrong on a

“controlling” question of law. The questions therefore have a “significant impact” on this

lawsuit if the Court of Appeals disagrees with this Court’s view.

                B.     Dominion Misstates the Second Question of Law

       Dominion falsely asserts that in its Motion to Dismiss, MyPillow asked this Court

to “accept the truth of statements in documents outside the pleadings.” Opp. at 12 (ECF

#72). MyPillow made no such request. MyPillow explicitly disclaimed any such request.

       MyPillow’s motion does not, as Dominion charges, ask this Court to “accept
       the truth of statements in documents outside the pleadings” or “draw
       inferences and resolve factual disputes in Defendants’ favor.” . . . MyPillow’s
       citations prove only an irrefutable fact – that voting machine integrity in the
       2020 election is a widely and hotly debated topic. The Court need not address
       the truth of these reports to conclude that Lindell’s statements were made
       during a broad and deep public debate.

Reply Mem. at 4 (ECF #49). See also My Pillow, Inc.’s Mem. in Supp. of Mot. for

Modification of Mem. Op. at 8 (ECF #58-1) (“judicial notice of the public debate and


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governmental investigations surrounding Dominion . . . . published materials showing the

existence of the public debate”).

        MyPillow asks this Court to assess the validity of Dominion’s “inherently

implausible” argument to establish actual malice by considering not just the one-sided

allegations in the complaint but also that there were many published statements on this

subject, whether they were true or false. These public statements demonstrate that the

allegedly defamatory statements cannot be deemed “inherently implausible,” because they

reflect huge differences of public opinion, and thus, as a matter of law, Dominion has not

and cannot meet the “reckless person” standard.

       Precedents relevant to Question Two are Fairbanks v. Roller, 314 F.Supp.3d 85

(D.D.C. 2018) (considering “news articles” that were “statements made on the internet” to

show the existence of “ongoing public debate about whether the alt-right movement had

turned the gesture into a hate symbol”); Farah v. Esquire Magazine, Inc., 863 F. Supp.2d

29, 35 (D.D.C. 2012) (considering “Internet postings” to show “those statements were

made . . . . and their written content”); Tah, 991 F.3d at 240 (plaintiff must show defendant

actually “harbored subjective doubt” to establish actual malice); and McFarlane v.

Sheridan Sq. Press, Inc., 91 F.3d 1501, 1513-1514 (D.C. Cir. 1996) (government

investigation of plaintiff can lead defendant to believe claims are true). The Supreme Court

also stated that when a court determines whether a complaint specially pleads scienter, it

must consider “the complaint in its entirety, as well as other sources courts ordinarily

examine when ruling on Rule 12(b)(6) motions to dismiss, in particular . . . matters of



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which a court may take judicial notice” to determine whether the special pleading standard

has been met. Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S. 308, 322-23 (2007).

         Dominion cannot distinguish these cases, but admits that they stand for the

proposition that a court may take judicial notice of extra-pleading documents “to show that

those statements were made,” Opp. at 13, n.5 (ECF #72). This is precisely the purpose for

which MyPillow asks the Court to take judicial notice. Dominion’s Opposition does not

even attempt to address MyPillow’s argument on its merits. Instead, Dominion misstates

the argument, attacks its straw man, and moves on.

    C.       Dominion’s “Public Official” Status Is a Third Controlling Question of Law


         Dominion’s Opposition unexpectedly adds a third question of law that is of great

significance and importance in the application of the constitutional rule of New York Times

v. Sullivan – the status of a private entity that engages, with the use of modern technological

devices, in the performance of official conduct that was historically carried out by

individuals who were “public officials.” Although Paragraph 157 of its Complaint boasts

that elections in 28 states were “administered” by “using Dominion’s tabulation devices to

count paper ballots,” its Opposition says it is “simply false” to say that Dominion

administers elections and is subject to the same level of criticism that may constitutionally

be directed to individuals who used to “count paper ballots.” In light of Dominion’s

Opposition, the proper legal definition of a “public figure” in the application of New York

Times v. Sullivan is now another controlling question of law that calls for resolution by a

definitive decision of the Court of Appeals.



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        If an interlocutory appeal is certified by this Court and the Court of Appeals agrees

to have the issues briefed and argued, the grounds for a potential reversal of this Court’s

ruling are not limited by the issues presented in the certification. If the District Court’s

denial of a motion to dismiss is certified, the parties and the Court of Appeals may consider

and decide all issues that relate to the validity of the denial of the Motion to Dismiss. The

Supreme Court squarely and unconditionally held in an opinion by Justice Ginsburg

(responding to a question that the Court had initiated) that in a Section 1292(b)

interlocutory appeal, “the appellate court may address any issue fairly included within the

certified order because ‘it is the order that is appealable, and not the controlling question

identified by the district court.’” Yamaha Motor Corp., U.S.A. v. Calhoun, 516 U.S. 199,

205 (1996) (emphasis original). See also Barrientos v. Corecivic, Inc., 951 F.3d 1269, 1275

(11th Cir. 2020); In re Volkswagen “Clean Diesel” Marketing, Sales Practices, and

Products Liability Litigation, 2 F.4th 1199, 1203 (9th Cir. 2021) (“We review an order

denying summary judgment de novo.”). Whether Dominion should be deemed a “public

official” in ruling on a motion to dismiss based on New York Times v. Sullivan will be an

issue of law for the Court of Appeals to decide, even if it is not one of the certified

questions.

   D.    Interlocutory Review Would “Materially Advance the Disposition of the Litigation”


        Dominion contends that an interlocutory appeal would not materially advance the

termination of the litigation. Opp. at 14-16 (ECF #72). This is demonstrably wrong. If

Dominion’s complaint failed to plead actual malice – an essential element of Dominion’s



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claim – then the complaint must be dismissed. That would materially advance the

termination of the litigation.

       The remote possibility that Dominion could remedy its omission with an Amended

Complaint does not affect the Section 1292(b) standard. “To satisfy this element a movant

need not show that a reversal on appeal would actually end the litigation. Instead, the

relevant inquiry is whether reversal would hasten or at least simplify the litigation in some

material way, such as by significantly narrowing the issues, conserving judicial resources,

or saving the parties from needless expense.” Molock, 317 F. Supp.3d at 6-7 (certifying

appeal “given the potential of avoiding burdensome discovery costs and conserving judicial

resources in the event of a reversal”). In the unlikely event that Dominion could amend its

lengthy and detailed complaint to meet the “actual malice” standard, the Court of Appeals’

decision would surely guide and streamline discovery.

                                     CONCLUSION

       For the foregoing reasons, this Court should modify its Memorandum Opinion and

Order to include conclusions authorizing an interlocutory appeal




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